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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                       )
                                                      )
 8                               Plaintiff,           )
 9                         vs.                        )
                                                      )              CR05-231 JCC
10
      MICHAEL TRENT McELRAVY,                         )
11                                                    )
                                 Defendant.           )            MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
14

15
            The Motion to Modify Conditions of Release with respect to the above named defendant
16
     is DENIED.
17

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22

23                                Dated this 30th day of August , 2005
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
